           Case 2:25-mj-00261-EJY        Document 1     Filed 03/27/25    Page 1 of 21


                                                                       FILED
                                                              U.S. MAGISTRATE JUDGE
 I SUE FAHAMI
   Acting United States Attorney                                     March 27, 2025
                                                               DATE:__________________
 2 Nevada Bar No. 5634
   JACOB H. OPERSKALSKI
 3 Assistant United States Attorney                                  11:5 a.m.
                                                              TIME:___________________
   Nevada Bar Number 14746
 4 50 I Las Vegas Blvd. South, Suite 1100
   Las Vegas, Nevada 89101
 5 PHONE: (702) 388-6336
   jacob.operskalski@usdoj.gov
 6 Representing the United States ofAmerica

 7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA

 9


     UNITED STATES OF AMERICA,                          CRIMINAL COMPLAINT
11
                          Plaintiff,                    Case No.: 2:25-mj-00261-EJY
12
     vs.                                                Violations:
13
     PAUL HYON KIM,                                     Count One
14
                          Defendant.                    26 U.S.C. § 5861(d) Unlawful Possession of an
15                                                      Unregistered Firearm (Destructive Device),

16                                                      Count Two

17                                                      18 U.S.C. § 844(i) Arson

18

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20

21         BEFORE the United States Magistrate Judge, Las Vegas, Nevada, the undersigned
22 complainant, being duly sworn, deposes and states:

23
              Case 2:25-mj-00261-EJY        Document 1       Filed 03/27/25      Page 2 of 21




 1                                                   COUNT ONE

 2            That on or about March 18, 2025, in the District of Nevada,

 3                                              PAULHYONKIM,

 4            Possessed a firearm 1 which was not registered to him in the National Firearms Registration

 5   and Transfer Record, in violation of26 U.S.C. § 5861(d); and

 6
                                                     COUNT TWO
 7
              That on or about March 18,2025, in the District of Nevada,
 8
                                               PAUL HYON KIM,
 9
              Maliciously damaged and destroyed and attempted to damage and destroy by means of fire
10
     and an explosive, any building, vehicle, or other real or personal property used in interstate or
11
     foreign commerce or in any activity affecting interstate or foreign commerce, to wit, five Tesla
12
     vehicles, in violation of 18 U.S.C. § 844(i).
13

14
              Complainant,   Special Agent Steven Arthur Baxter, states the following as and for probable
15
     cause:
16
                              INTRODUCTION AND AGENT BACKGROUND
17
              1.     I am a Special Agent with Federal Bureau of Investigation    (FBI) and have been since
18
     October, 2012. My current assignment is to the Las Vegas Field Office. My training includes the
19
     New Agent's training curriculum     at the FBI Academy in Quantico, VA, as well as specialized
20
     training in improvised explosive devices at the FBI's Hazardous   Devices School at Redstone
21

22

23   1Title 26, United States Code, Section 5845(a)(8) defines the term "firearm" to include a
     "destructive device."


                                                         2
             Case 2:25-mj-00261-EJY             Document 1         Filed 03/27/25     Page 3 of 21




 1   Arsenal, AL. I have participated        in investigations involving domestic terrorism and anti-government

 2   violent extremists, as well as investigations involving the manufacture,        use, or attempted use of

 3   destructive devices, as well as arson related investigations.

 4           2.      I submit this affidavit in support of a criminal complaint        and arrest warrant for Paul

 5   Ryon Kim (hereafter "Kim") (DOB: 09/06/1988).                 I submit that there is probable cause to believe

 6   Kim has committed        the crimes of Unlawful Possession          of an Unregistered   Firearm    (Destructive

 7   Device), in violation of Title 26, United States Code Section 5861(d), and Arson, in violation of Title

 8   18, United States Code Section 844(i) on March 18, 2025, hereinafter the "Target Offenses".

 9           3.      The facts and information         contained     in this affidavit are based upon my direct

10   participation   in this investigation   and based upon facts as relayed to me by other law enforcement

11   officers pertaining    to this investigation.    This affidavit is submitted     for the limited purpose       of

12   establishing probable cause for the charged offenses. As a result, I have not included each and every

13   fact known to me regarding this matter.

14                                            PROBABLE CAUSE

15   Arson March 18, 2025:

16           4.      On March 18,2025, at approximately            0245 hours (0945 hours UTC), Las Vegas Metro

17   Police Department      (LVMPD) patrol officers from the Spring Valley Area Command                 (SVAC) were

18   dispatched to Tesla Collision (6260 West Badura Avenue, Las Vegas, NV 89118), regarding a 9-1-1

19   call.

20           5.      The person reporting advised 9-1-1 that a male across the street (at Tesla Collision) was

21   setting vehicles on fire. The caller also heard gunshots while he was on the phone with 9-1-1 and

22   witnessed the suspect run eastbound        on Badura Avenue. The suspect was described as an unknown

23   race male, wearing a black hoodie, black pants, and carrying a black backpack.



                                                             3
            Case 2:25-mj-00261-EJY            Document 1         Filed 03/27/25     Page 4 of 21




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            6.       Clark County Fire Department      (CCFD) Engine #21 arrived to suppress the fires and
10
     did so without incident or further damage to surrounding        vehicles and structures. After the fires were
11
     suppressed, the following vehicles were determined to have damage from fires and! or apparent bullet
12
     hole(s) from a discharged firearm:
13
                 •   2025     black   Tesla    Model        Y,    Vehicle    Identification   Number       (VIN):
14
                     7SAYGDEF4SF247757,        bearing Nevada license plate 60J237 (hereinafter "Vehicle 1")
15
                 •   2023 white Tesla Model 3, VIN: 5YJ3ElEA7PF712426,              bearing Nevada license plate
16
                     GK04FN     (hereinafter "Vehicle 2")
17
                 •   2023 gray Tesla Model X, VIN: 7SAXCBE62PF383520,               bearing Nevada license plate
18
                     J4M4L (hereinafter "Vehicle 3")
19
                 •   2021 white Tesla Model 3, VIN: 5YJ3ElEAXMF090657               (hereinafter "Vehicle 4")
20
                 •   Gray Tesla Model 3, VIN: 5YJ3ElEA2SF899535             (hereinafter "Vehicle 5")
21

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                Case 2:25-mj-00261-EJY        Document 1      Filed 03/27/25     Page 5 of 21




 1              7.    Vehicle 1 still contained a device that resembles an incendiary device, similar to a

 2       Molotov cocktail,2 inside of the vehicle that had not been ignited. The device contained an unknown

 3       flammable substance, later identified by the Las Vegas Metropolitan Police Department (LVMPD)

 4   Lab Unit as Pentene and Ethanol, in a glass bottle.

 5              8.    Bureau of Alcohol, Tobacco, Firearms and Explosives ("ATF") Destructive Device

 6   Examiner Jeremiah Raernhild reviewed images of one (1) of the in-tact devices located on scene inside

 7   one of the damaged Tesla vehicles. ATF Destructive Device Examiner Raernhild stated,

 8             Based upon the provided information this device possesses the construction and
               characteristics of a destructive device and would be properly identified as an Incendiary
 9             Bomb as that term is defined in 26 U.S.C, Section 5845(f). Additionally, this would also
               be an explosive as defined under 18 USC 844(j). This is a preliminary determination
10             only pending the receipt of the physical evidence and the associated laboratory report.

11             The images below depict the device recovered and reviewed:

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21   2Based on my training and experience, a Molotov cocktail is a hand-thrown incendiary weapon
     consisting of a frangible container filled with flammable substances and equipped with a fuse. These
22   incendiary devices are typically a glass bottle filled with flammable liquids, such as gasoline, sealed
     with a cloth wick. When used, the wick is lit, and then the device is thrown. The container will
23   shatter on impact, and the flammable substance will then catch fire. The fire typically spreads as the
     fuel bums.


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            Case 2:25-mj-00261-EJY           Document 1       Filed 03/27/25    Page 6 of 21




 1          9.     Video Surveillance with audio recording from 6308 Pear Valley Lane, a structure that

 2   abuts Badura Avenue across from Tesla Collision, revealed that an unknown subject wearing all dark

 3   clothing entered the parking lot of Tesla Collison on March 18,2025,       at approximately    0243 hours.

 4   The unknown subject lifted his or her hand in the direction of a Tesla vehicle, then three (3) gunshots

 5   were heard being discharged from what law enforcement         officials believe to be a firearm. After two

 6   (2) of the gunshots, a fire was seen burning in two (2) of the Tesla vehicles, both of which were then

 7   engulfed in flames.   The video revealed the suspect arrived in a dark colored vehicle which travelled

 8   west on Badura from the intersection        of Jones and Badura.      Initial investigation   revealed   that

 9   incendiary device(s) were used to damage and destroy multiple vehicles, a firearm was used to damage

10   and destroy the vehicles, and a graffiti implement was used to write the word "Resist" on the front of

11   the Tesla Collision   bUilding.     Detectives   from the Southern   Nevada    Counterterrorism      Center

12   (SNCTC), FBI Joint Terrorism Task Force (JTTF) and Las Vegas Metropolitan              Police Department

13   (LVMPD) ARMOR         (All-Hazard   Regional Multi-Agency    Operations   and Response) unit, as well as

14   CCFD Arson Investigators responded to the scene to assume the investigation.

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            Case 2:25-mj-00261-EJY        Document 1      Filed 03/27/25     Page 7 of 21




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            10.    Subsequent investigation by the FBI and LVMPD included canvasses for surveillance
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     photography obtained by private residences and businesses as well as investigators legally obtaining
13
     cellular telephone tower data for the area of the incident on the evening of March 17 to March 18,
14
     2025. Knowing the suspect entered a vehicle that was traveling east towards Jones Avenue after the
15
     crime, investigators canvased the property of 6955 South Jones Boulevard, Las Vegas. This property
16
     is on the corner of Jones Boulevard and Badura Avenue. It has entries and exits on both streets.
17
     Surveillance footage on the southwest side of the property was located. This camera is pointed to the
18
     south, which captures east and west traffic on Badura Avenue, west of Jones Boulevard. Time stamped
19
     at 0247:13 hours, a black newer sedan approached the intersection of Jones Boulevard. This vehicle
20
     had a solid LED light strip that encompassed the entire rear facie. The vehicle appeared to disregard
21
     the red light, and continued east on Badura Avenue and crossing Jones Boulevard.
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             Case 2:25-mj-00261-EJY            Document 1      Filed 03/27/25   Page 8 of 21




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14           11.    Investigators used this footage to establish a possible path of travel for the vehicle. The

15   subject's vehicle description      was described as a newer black sedan with solid LED taillights that

16   encompassed    the rear facie, and no tint. It should be noted that not all time-stamped     data may be

17   accurate to actual time. Different businesses utilize different devices/methods,    such as hard wire or

18   Wi-Fi, which contribute to certain delays. The following footage was located of the possible vehicle

19   direction:

20                         •   FOOTAGE LOCATED ON 03/18/2025:

21                  ILi.       LVMPD CSI - southbound     on Lindell from Badura at 2:47:45.

22                 11..ii.     NV Energy (7155 South Lindell Road) - vehicle traveled south on Lindell Road

23                             at 2:48:08.




                                                           8
     Case 2:25-mj-00261-EJY          Document 1        Filed 03/27/25     Page 9 of 21




 1        11..iii.   LVMPD CSI - vehicle turned east on Warm Springs Road from Lindell Road

 2                   at 02:48:33.

 3             •     FOOTAGE LOCATED ON 03/19/2025:

 4         11..i. 6955 South Jones Boulevard - camera facing north. At approximately                 0236

 5                   hours, a dark colored sedan traveled southbound     from the CC 215 highway area.

 6                   The vehicle slowed down as it approached      Badura Avenue and merged close to

 7                   the west sidewalk. The vehicle's lights were turned off but the vehicle's right

 8                   blinker was activated, signaling its intention to turn right (west). This was visible

 9                   due to all lights noticeably turning off, with the passenger headlight and taillight

10                   flashing, with a flash where the passenger mirror would be. Newer vehicles are

11                   known to have turn signal lamps on the side mirrors.

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     Case 2:25-mj-00261-EJY      Document 1        Filed 03/27/25   Page 10 of 21




 1         11..ii. Additionally, there was a camera on the same property that was on the southeast

 2                corner of the building. This camera faces south, southwest, which captures

 3                traffic on Badura Avenue west of Jones Boulevard, and small portions of traffic

 4                on Jones Boulevard, south of Badura Avenue. At approximately 02:37:20, the

 5                apparent same black vehicle was seen entering onto Badura Avenue westbound

 6                from northbound Jones Boulevard. It also showed the passenger side turn signals

 7                still active as the light was on at the passenger mirror and headlamp. The turn

 8                signal turned off, and the daytime running lamps turned on, which further

 9                proves the turn signal was activated. The vehicle traveled west on Badura

10                Avenue towards the Tesla Collision center.

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     Case 2:25-mj-00261-EJY         Document 1    Filed 03/27/25   Page 11 of 21




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16        11..iii. 6515 South Jones Boulevard - the subject's vehicle was observed traveling west
17               on Sunset Road and entering the parking lot of Tropical Smoothie Cafe and
18                Sierra Gold. The vehicle departed the property southbound on Jones Boulevard
19               at approximately 0235 hours. The distance from 6515 South Jones Boulevard to
20               the approximate location of where the vehicle was captured on video from 6955
21               South Jones Boulevard traveling south, was only 0.4 miles. While stationary in
22               the parking lot, detectives were able to get the clearest photo to date of the
23               suspect vehicle.



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           Case 2:25-mj-00261-EJY                           Document 1                          Filed 03/27/25                             Page 12 of 21




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            12.     Based on this information,                         it is believed the subject was most likely driving a 2021-2025
 8
     Hyundai Elantra.
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            13.     On March 19, 2025, LVMPD completed a report, which examined the characteristics
10
     of the rifling of the bullet fragments recovered on scene. In summary, this report indicates that the
11
     rounds fired at the cameras are 300 blackout or 30 caliber. A number of possible firearms are included
12
     in the report, but no specific firearm make or model could be identified.
13
            14.    Additionally,           the DNA report from the LVMPD Forensic Lab was completed.                                                          The
14
     report indicated the following:
15

16                                                                                                                            Primary Case": 250300065142
                                                                                                                                     Lab Case ": 25·04301.2



17
                          STR Processing
                          The evidence   listed below was subjected   to peR amplification   at the following   STR genetic   loci: THOi, 0351358,   vWA,
18                        021511, TPOX, OY5391, 0151656, 0125391, 503, 01051248, 02251045, 0195433, 0851179, 0251338, 025441. 018551,
                          FGA, 0165539, C5FIPO. 0135317, 055818, and 075820. The sex-determinin Amelo enin locus was also examined.


19                        Lab Item 3: swab from the staining from the side of the orange "NJlP" storm proof           mate,," container
                          Number of contributors: 1 male


                          The DNA profile obtained is consistent with a single unidentified male contributor        (Male #1). No additional conclusions
20                        can be made regarding the contributor to this DNA profile at this time.


                          The DNA prOfile will be searched against the Local DNA Index 5ystem (COOI5) and then uploaded to the National DNA
                          Index 5ystem (COOI5) for comparison. You will be notified of any match(es).
21
                          Lab Item 5: swab from the edscs of the orange "NJLP" storm proof matches container
                          The DNA profile obtained is consistent with at least one male contributor.       Due to the limited nature of this profile, It is
22                        unsuitable for interpretation.


                          lib Item 7· swab from the mouth and rim of the bottle inside vehicle 5 (2025 lesla          NV6OJ217'
                          A DNA profile was not obtained.
23




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            Case 2:25-mj-00261-EJY           Document 1          Filed 03/27/25      Page 13 of 21




 1          15.       In addition to video surveillance canvas, LVMPD detectives authored numerous search

 2   warrants regarding area cellular tower information         dumps. An area dump pulls data from a specific

 3   location and specific date/time    frames authored in the warrant. This includes electronic devices, such

 4   as cell phones and most newer vehicles that have services like OnStar. Multiple search warrants were

 5   completed during the duration of this investigation, and served to Verizon, T-Mobile, and AT&T. The

 6   locations of the area dumps included the following known locations of the tracked suspect vehicle:

 7                •   Location 1: 6260 West Badura Avenue

 8                •   Location 2: Jones Boulevard/Badura        Avenue

 9                •   Location 3: Badura Avenue/Lindell         Road

10
                  •   Location 4: Sunset Road/ Jones Boulevard
11
                  •   Location 5: Sunset Road/Pecos
12
                  •   Location 6: Mountain Vista/Russell        Road
13
            16.       One warrant return indicated    that International    Mobile Subscriber Identity number
14
     (IMSI) , 311480798811960      was confirmed     to have communicated         with cell towers that place it at
15
     locations 2 and 4. It is known by Verizon as "Verizon Telematics - Vehicle Monitoring".            Detectives
16
     have learned that Hyundai vehicles equivalent to OnStar is a company called "BlueLink",            which is a
17
     subsidiary of Verizon.
18
            17.       Based on this return, Detectives believed this IMSI number belonged to a vehicle, likely
19
     a Hyundai.
20
            18.       On March 25th, an LMVPD Analyst learned of potential license plate reader (LPR)
21
     scans at the intersection of Sunset Road and Eastern Avenue. The analyst reviewed one month worth
22
     of LPR analysis at that same intersection.    While searching for black Hyundai Elantras, the analyst
23
     observed that the same black Hyundai Elantra had been captured at the intersection            multiple times.



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            Case 2:25-mj-00261-EJY           Document 1         Filed 03/27/25     Page 14 of 21




 1   The vehicle was consistent with our estimated model year (2021-2025). Additionally, the vehicle had

 2   matching rims and no tint.

 3           19.    The vehicle bore the license plate NV 687W46. It was captured at the intersection on

 4   03/05/25,03/07/25,      and 03112/25. The registered owner was identified as Paul Kim (09/06/1988).

 5   Kim's address was identified as 3950 Mountain Vista Street #296, Las Vegas, NV 89121. Kim's phone

 6   number was identified as (425) 502-0069. In two separate LVMPD reports, Kim's phone number was

 7   identified as (425) 502-0069 (LLV210900098345-001; LLV220900035959-001).

 8           20.    Verizon had provided an Area Dump Return for the intersection of Sunset Road and

 9   Pecos, Location 5. The return indicated that on March 18,2025, at approximately 0204 hours, Kim's

10   phone number was present in that area.

11          21.     On March 18, 2025, at approximately 0530 hours (less than 3 hours after the incident)

12   a subject identified as Paul Kim, DOB: September 06, 1988, filed an insurance claim with his

13   insurance company claiming his vehicle tires had been slashed. Kim also advised that his vehicle was

14   stolen in his reporting to the tow company and that he had just recovered it. A query of LVMPD, and

15   Henderson reports did not show any reports by Kim that his vehicle had been stolen or recovered.

16          22.     Kim is the registered owner of a black 2023 Hyundai Elantra bearing VIN#

17   KMHLN4AJ2PU035683. This fits the year/make/model                of the suspected vehicle used in the crime.

18   Pictures of this particular vehicle match the characteristics (distinct rims, taillights, no tint, etc.) of the

19   suspect vehicle which appears in numerous surveillance images captured.

20          23.     On March 6, 2025, Kim took possession of a lower receiver for an AR-style firearm

21   that is compatible with a .300 BLACKOUT upper receiver assembly (barrel, chamber, bolt carrier

22   group). This is the same caliber of firearm used in the crime based on a LVMPD lab report analysis

23   of bullet fragments recovered on scene. During this firearm transfer, Kim provided 425-502-0069 as



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            Case 2:25-mj-00261-EJY         Document 1       Filed 03/27/25    Page 15 of 21




 1   his telephone number to Accuracy Gun Shop. Kim took possession of this firearm at Accuracy Gun

 2   Shop located at, 5903 Boulder Hwy, Las Vegas, Nevada 89122. Below are video stills recovered from

 3   Accuracy Gun Shop during the firearm transfer process:

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            24.    On March 26, 2025, ATF Investigators conducted a query of the National Firearms
12
     Registration and Transfer Record (NFRTR) for Paul Kim (DOB: 09/06/1988). This query resulted in
13
     records showing Kim registered a 7.62 caliber suppressor on or about September 18, 2024, which was
14
     approved on or about October 15, 2024.
15
            25.    ATF Investigators reviewed video footage from the Tesla Facility depicting the suspect
16
     spray painting the storefront. Based on training and experience, ATF Investigators believe the suspect
17
     in the video footage appears to be carrying a firearm with a suppressor or similar muzzle device.
18
     Additionally, there was no visible muzzle flash seen during multiple rounds the suspect fired on scene.
19
            26.    According to a LVMPD Ballistic Analysis Lab report conducted on March 20, 2025,
20
     an analysis of one of the bullet fragments recovered on scene indicates the bullet caliber is .300
21
     BLACKOUT (.30 caliber). The 7.62 suppressor Kim registered with ATF in September 2024 is a .30
22
     caliber equivalent. The 7.62 cartridge is a NATO cartridge measured in millimeters (7.62mm) that is
23
     equivalent to a .300 BLACKOUT projectile diameter, which is measured in caliber, or tenths of an


                                                       15
                Case 2:25-mj-00261-EJY                                                               Document 1          Filed 03/27/25                                              Page 16 of 21




 1   inch (.30 caliber). This evidence demonstrates Kim had access to a suppressor and/or similar muzzle

 2   device that is seen in video footage of the suspect during the commission of the subject offenses.

 3   Furthermore, the suppressor Kim owns is compatible with a firearm chambered to expel the .300

 4   BLACKOUT bullet fragments that were recovered on scene.

 5                  27.        The incendiary device (mentioned and described earlier) was wrapped with Marketon

 6   flyers. Kim lives 1.8 miles from the Marketon located at 3736 East Desert Inn Road. The flyers were

 7   only distributed in a 3 miles radius of the Marketon location.

 8                  28.        Kim has an Instagram page where he follows the Socialist Rifle Association's page. In

 9   a post from October 2018, on the Reno Socialist Rifle Association's Instagram page, is a picture of a

10   subject that appears to be Paul Kim training with firearms.

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20                  29.    Beginning on or about March 26, 2025, LMVPD conducted twenty-four hour
21   surveillance on Kim at his residential address of 3925 Mountain Vista, Apartment #296, Las Vegas,
22   Nevada 89121. His registered Hyundai Elantra had not been observed since the time of the incident.
23



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              Case 2:25-mj-00261-EJY     Document 1       Filed 03/27/25   Page 17 of 21




 1            30.   On March 26,2025, at 0807 hours, Kim was seen leaving his apartment and carrying

 2   three black bags. Kim carried the bags to a silver Mazda 2, Nevada plate 411-8B5, VIN #

 3   JM1DE1KY7E0182024. Investigation into the vehicle revealed that it is a TURO rental vehicle, with

 4   the registered owner having the initials D.M. and a date of birth in December, 1981.

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16            31.   At 0853 hours, LVMPD observed Kim in the Venetian Hotel and Casino where there
17   was a cyber security and AI convention currently going on. The vehicle was parked in the 5B section
18   of the Venetian self-park garage located at, 3355 South Las Vegas Boulevard Las Vegas, Nevada
19   89109.
20            32.   Kim had a confirmed flight to Phoenix from Las Vegas, leaving on March 27, 2025, at
21   0645 hours with a scheduled layover in Phoenix before leaving for Milwaukee, WI, with an arrival
22   time of 1530 hours EDT
23



                                                     17
           Case 2:25-mj-00261-EJY          Document 1         Filed 03/27/25   Page 18 of 21




 1          33.     On March 26,2025, at 1638 hours LVMPD Detectives consensually made contact with

 2   Kim who was leaving the Venetian Hotel and casino and was returning to his Mazda Turo Rental

 3   Vehicle.

 4          34.     Kim agreed to talk with Detectives and an interview was conducted. The Detectives

 5   read Kim his Miranda rights, read verbatim from the LVMPD issued blue Miranda Card at 1649

 6   hours to which Kim replied, "yep." The following is a summation of the interview:

 7              34.1. Kim confirmed that the Black Elantra of question in this investigation was his and

 8                     that the phone number 425-502-0069 was his phone number.

 9              34.2. Kim explained his day between the 17 and 18 March during the time period of our

10                     crime occurrence. Kim stated that he met with a friend at 2000 hours on the 17th at

11                     a PTs bar located on Flamingo only 10 minutes from his house. (There are no PTS

12                     on Flamingo within 10 minutes of Kim's residence).

13              34.3. This was the first time that he has met with this friend, and they were together for

14                     two and a half hours and got a little drunk. So, they headed back to Kim's friend's

15                    house at midnight where they hung out until 0800 hours on the 18 March.

16              34.4. Kim advised that his friend lived off of Maryland Parkway but was not specific. Kim

17                    parked his car on adjacent to the apartment complex that was on Maryland parkway

18                    and left his keys inside. When he went back to his car at 0800 hours on March 18,

19                    he noticed his car was damaged like someone tried to steal it.

20              34.5. Kim admitted that he called in a claim to Progressive for the damage but that the

21                    damage was not covered by his specific insurance.

22              34.6. Detectives knew that the actual reporting for the claim was 0500 hours for slashed

23                    tires per Progressive reporting.



                                                         18
            Case 2:25-mj-00261-EJY             Document 1      Filed 03/27/25    Page 19 of 21




 1                34.7.   When asked where Kim made the insurance report stating on Silverado Ranch, Kim

 2                        confirmed that it was in fact Silverado Ranch which is shown in the above phone

 3                        and car tracking.

 4                34.8.   Kim then advised that he took his Elantra to the Caliber Collision Center on his own

 5                        to be repaired. Kim confirmed that his car was not anywhere else during the 17th and

 6                        18th of March.

 7                34.9.   Detectives challenged Kim on his inconsistences and Kim then replied with his

 8                        request for counsel and the interview was concluded.

 9                34.10. Law enforcement officials have determined that Kim's vehicle and phone followed

10                        the following path on March 18,2025:

11                        At approximately 0204 hours Kim's phone (425-502-0069) and his vehicle appeared

12                        to be together utilizing the same tower just east of Tropicana and the 95. Kim's

13                        phone utilized this tower at approximately 0204 hours, and his vehicle was in the

14                        same area from approximately 0203-0210. Kim's vehicle was then in the area of S.

15                        Jones/Sunset     at approximately 0232-0235 hours. Then between approximately

16                        0236-0248   the vehicle appears to be in the area of 6260 W. Badura.             At

17                        approximately 0254 hours both Kim's vehicle and cell phone again appear to be

18                        together utilizing a tower in the area north of Blue Diamond Rd. and Interstate 15.

19          35.       In the late hours of March 26, to the early morning hours of March 27,2025, law

20   enforcement officials executed various state search warrants related to this case, including at Kim's

21   residence: 3950 South Mountain Vista Road, Building Y Apartment 296, Las Vegas, Clark County

22   Nevada. Law enforcement officials recovered the following items from inside of Kim's residence:

23                •   black gun belt with pouch and a small drop of pink paint residue.



                                                          19
     Case 2:25-mj-00261-EJY           Document 1    Filed 03/27/25   Page 20 of 21




 1      •   black backpack with pink:paint

 2      •   black hoodie
 3      •   face masks
 4      •   potassium chlorate (oxidizer)
 5                       .        .
        •   grey magazme carner
 6
        •   black tape
 7
        •   additional multiple black hoodies and clothing
 8
        •   Newspaper article from USA Today dated 11108117 about a mass shooting incident
 9
        •   Notepads, handwritten documents
10
        •   Ammunition in multiple calibers
11
        •   Holsters
12
        •   Miscellaneous gun parts
13
        •   Cartridge catcher
14
        •   300 blackout ammo in bedroom
15
        •   Firearms
16
        •   300 blackout barrel
17
        •   AR style rifle with Palmetto lower receiver serial number SCNL242328. This rifle is
18
            consistent with the firearm used in the March 18, 2025 incident at Tesla Collision and
19
            it has a Sandman k 7.62 suppressor on it.
20
        •   9mm handgun with magazines
21
        •   Bolt action rifle with scope
22
        •   5.45x39 AK style rifle
23



                                               20
           Case 2:25-mj-00261-EJY             Document 1       Filed 03/27/25    Page 21 of 21




 1                 •   shotgun

 2                 •   Paper with what is believed to be a handwritten   egress route from Tesla on Badura.

 3
                                             CONCLUSION
 4
            36.        Based on the foregoing, I have probable cause to believe Paul Hyon Kim (DOB:
 5
     09/06/1988)       committed   the Target Offenses.
 6

 7

 8                                                   STEVEN ARTHUR BAXTER
                                                     FBI SPECIAL AGENT
 9
     Attested to by the applicant in accordance with the requirements       of Fed. R. Crim. P. 4.1 by
10
                                                27th day of March, 2025.
     telephone or other reliable means on this __
11

12

13   THE HONORABLE ELA YNA J. YOUCHAH
     UNITED STATES MAGISTRATE JUDGE
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